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                         EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

      LUMINATI NETWORKS LTD.                         §
                                                     §
                     Plaintiff,                      §
        v.                                           §   Case No. 2:19-CV-00395-JRG
      TESO LT, UAB; OXYSALES, UAB;                   §
      METACLUSTER LT, UAB;                           §
                                                     §
                    Defendants.                      §

                 LUMINATI NETWORKS LTD.’S P.R. 4-2 DISCLOSURES


        Pursuant to P.R. 4-2 and the Docket Control Order (Dkt. No. 65), Plaintiff Luminati

 Network Ltd.’s (“Luminati”) provides its preliminary proposed claim constructions and

 identification of extrinsic evidence for the terms from the Asserted Patents (U.S. Patent Nos.

 10,257,319 (the “’319 Patent”), 10,484,510 (the “’510 Patent”) and 10,469,614 (the “’614 Patent))

 identified pursuant to P.R. 4-1 and attached hereto as Appendix A. Pursuant to P.R. 4-2(b), these

 disclosures are accompanied by a production of extrinsic evidence, with previously produced

 extrinsic evidence identified by bates number in Appendix A. These P.R. 4-2 disclosures are based

 on the information currently available to Luminati. Plaintiff reserves the right to amend these

 disclosures including the proposed constructions of these terms and identification of extrinsic

 evidence based on further discovery.

        Luminati also reserves the right to offer further extrinsic evidence to rebut preliminary

 claim constructions, testimony, or extrinsic evidence Defendant offers in support of their claim

 construction positions. Luminati may also provide expert declarations and/or testimony of

 Plaintiff’s expert Dr. Tom Rhyne, as evidence of how one having the ordinary skill in the art at

 the time of the inventions would interpret the terms at issue. Such declarations and/or testimony


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 may address both the general understanding of the relevant terms and phrases in the field of the

 Asserted Patents, as well as the understanding and/or definiteness of terms and phrases in the

 context of the Asserted Patents’ specifications and claims. Luminati’s expert may also provide

 testimony concerning the appropriate level of skill in the art at the time of the inventions and the

 background of the technology at issue at the time of the inventions. Luminati reserve the right to

 introduce expert declarations or testimony to rebut Defendant’s claim construction and

 indefiniteness positions and any expert declarations or testimony introduced by Defendant.

                                                      Dated: July 28, 2020

                                                      By: /s/ Ronald Wielkopolski__

                                                      S. Calvin Capshaw
                                                      State Bar No. 03783900
                                                      Elizabeth L. DeRieux
                                                      State Bar No. 05770585
                                                      Capshaw DeRieux, LLP
                                                      114 E. Commerce Ave.
                                                      Gladewater, TX 75647
                                                      Telephone: 903-845-5770
                                                      ccapshaw@capshawlaw.com
                                                      ederieux@capshawlaw.com

                                                      Mark Mann
                                                      Mann | Tindel | Thompson
                                                      300 West Main
                                                      Henderson, TX 75652
                                                      mark@themannfirm.com
                                                      Office 903-657-8540
                                                      Cell 903-658-0401
                                                      Marshall Office 903-472-4294
                                                      Tyler Office 903-596-0900
                                                      Waco Office 254-776-3336

                                                      Korula T. Cherian
                                                      Robert Harkins
                                                      RuyakCherian LLP
                                                      1936 University Ave, Ste. 350
                                                      Berkeley, CA 94702
                                                      sunnyc@ruyakcherian.com

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                                                   bobh@ruyakcherian.com

                                                   Ronald Wielkopolski
                                                   RuyakCherian LLP
                                                   1700 K St. NW, Suite 810
                                                   Washington, DC 20006
                                                   ronw@ruyakcherian.com

                                                   Attorneys for Plaintiff
                                                   Luminati Networks Ltd.




                               CERTIFICATE OF SERVICE

        I hereby certify that counsel of record is being served with a copy of this document by

 email on July 28, 2020.

                                            Respectfully submitted,

                                            By:      /s/ Ronald Wielkopolski




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                    [’319, ’510, ’614] PATENT CLAIM TERMS FOR CONSTRUCTION

  No.   Patent   Claim             Claim(s) of   Plaintiff’s Proposed Construction and Evidence in Support
                 Language            Patent
                                   Implicated
  1     ’319     Preamble          Claim 1       Proposed Construction: Limiting
        Patent
                                                 Extrinsic Support:

  2     ‘319     “client device”   Claims 1,     Proposed Construction: “Consumer computer” or, in the
        Patent                     2, 14, 17,    alternative, “plain and ordinary meaning”
                                   22, 24, and
                                   25            Intrinsic Evidence: 2:44-46

                                                 Extrinsic Support:

                                                 Tesonet Claim Construction Order (Luminati Networks Ltd. v.
                                                 UAB Tesonet and UAB Metacluster LT, Case No. 2:18-cv-
                                                 299, “Tesonet,” ECF 121): Construction of “Device”: A
                                                 physical device.

                                                 Tesonet Claim Construction Order (ECF 121): Construction of
                                                 “Client Device”: A device that is operating in the role of a
                                                 client by requesting services, functionalities, or resources from
                                                 other devices.

                                                 PC Mag Encyclopedia: Definition of “computing device”:
                                                 “Any electronic equipment controlled by a CPU, including
                                                 desktop and laptop computers, smartphones and tablets. It
                                                 usually refers to a general-purpose device that can accept
                                                 software for many purposes in contrast with a dedicated unit of
                                                 equipment such as a network switch or router.”

                                                 https://www.pcmag.com/encyclopedia/term/66551/computing-
                                                 device

                                                 LUM-00003575

                                                 RFC 1983 at 11: Definition of “client”: A computer system or
                                                 process that requests a service of another computer system or
                                                 process. A workstation requesting the contents of a file from a
                                                 file server is a client of the file server.

                                                 https://tools.ietf.org/html/rfc1983

                                                 RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                                 requests and uses a service provided by another system entity,
                                                 called a ‘server.’

                                                 https://tools.ietf.org/html/rfc2828

                                                 W3 Glossary of Terms for Device Independence at 2:
                                                 Definition of “Client”: The role adopted by an application
                                                 when it is retrieving and/or rendering resources or resource
                                                 manifestations.


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                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               IEV ref 732-01-12 definition of “client”: “functional unit that
                                               requests and receives services from a server.”

                                               LUM-00003490-3491

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”

                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12

                                               LUM-00003576

  3    ’319     “first server”    Claims 1,    Proposed Construction: “web server”
       Patent                     21, and 25
                                               Intrinsic evidence: 4:62-5:7; 19:16-32


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                                              Extrinsic Support:

                                              ATIS: Definition of “web server”: A software program or
                                              server computer equipped to offer World Wide Web access.
                                              Note: A web server accommodates requests from users,
                                              retrieves requested files or applications, and issues error
                                              messages.

                                              https://glossary.atis.org/glossary/web-
                                              server/?search=WEB%20SERVER&page_number=&sort=AS
                                              C

                                              RFC 1983 at 49: Definition of “server”: A provider or
                                              resources (e.g. file servers and name servers).

                                              https://tools.ietf.org/html/rfc1983

                                              RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                              that provides a service in response to requests from other
                                              system entities called client.

                                              https://tools.ietf.org/html/rfc2828

                                              W3 Glossary of Terms for Device Independence at 4:
                                              Definition of “Server”: The role adopted by an application
                                              when it is supplying resources or resource manifestations.

                                              https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                              W3 Hypertext Terms: Definition of “Server”: A program
                                              which provides a service to another, known as the client. In a
                                              hypertext system, a server will provide hypertext information
                                              ot a browser.”

                                              https://www.w3.org/History/19921103-
                                              hypertext/hypertext/WWW/Terms.html

                                              Merriam Webster: Definition of “server”: A computer in a
                                              network that is used to provide services (such as access to files
                                              or shared peripherals or the routing of e-mail) to other
                                              computers in the network.

                                              https://www.merriam-webster.com/dictionary/server

                                              LUM-00003579

                                              IEV ref 732-01-12 definition of server: “functional unit that
                                              provides services to workstations, to personal computers or to
                                              other functional units in a computer network”

                                              http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                              ref=732-01-12

                                              LUM-00003576



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                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

  4    ’319     “second server”   Claims 1,    Proposed Construction: “A server that is not the client device
       Patent                     2, 17, 21,   or first server”
                                  24, and 25
                                               Intrinsic evidence: 19:16-32

                                               Extrinsic Support:

                                               RFC 1983 at 49: Definition of “server”: A provider or
                                               resources (e.g. file servers and name servers).

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”


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                                              https://www.w3.org/History/19921103-
                                              hypertext/hypertext/WWW/Terms.html

                                              Merriam Webster: Definition of “server”: A computer in a
                                              network that is used to provide services (such as access to files
                                              or shared peripherals or the routing of e-mail) to other
                                              computers in the network.

                                              https://www.merriam-webster.com/dictionary/server

                                              LUM-00003579

                                              IEV ref 732-01-12 definition of server: “functional unit that
                                              provides services to workstations, to personal computers or to
                                              other functional units in a computer network”

                                              http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                              ref=732-01-12

                                              LUM-00003576

                                              RFC 1983 at 11: Definition of “client”: A computer system or
                                              process that requests a service of another computer system or
                                              process. A workstation requesting the contents of a file from a
                                              file server is a client of the file server.

                                              https://tools.ietf.org/html/rfc1983

                                              RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                              requests and uses a service provided by another system entity,
                                              called a ‘server.’

                                              https://tools.ietf.org/html/rfc2828

                                              W3 Glossary of Terms for Device Independence at 2:
                                              Definition of “Client”: The role adopted by an application
                                              when it is retrieving and/or rendering resources or resource
                                              manifestations.

                                              https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                              W3 Hypertext Glossary: Definition of “Client”: A program
                                              which requests services of another program. Normally the
                                              browser is a client of a data server.

                                              https://www.w3.org/History/19921103-
                                              hypertext/hypertext/WWW/Terms.html

  5    ’319     “the first IP     Claim 2     Proposed Construction: Definite / plain & ordinary meaning
       Patent   address”
                                              Extrinsic Support:

                                              ATIS: Definition of “IP address”: A device’s or resource’s
                                              numerical address as expressed in the format specified in the
                                              Internet Protocol. Note 1: In the current addressing format, IP
                                              version 4 (IPv4), an IP address is a 32-bit sequence divided

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                                                 into four groups of decimal numbers separated by periods
                                                 (“dots”), commonly referred to as “dotted decimals.” The IP
                                                 address of a device is made up of two parts: the number of the
                                                 network to which it is connected, and a sequence representing
                                                 the specific device within that network. An IP address may be
                                                 used on private intranets, as well as The Internet. Note 2: Due
                                                 to inefficiencies that have arisen in address assignment,
                                                 available IPv4 addresses are nearly exhausted. A newer version
                                                 of IP addressing (IP version 6, consisting of a 128-bit
                                                 numerical sequence) is currently being developed.

                                                 https://glossary.atis.org/glossary/ip-
                                                 address/?char=I&page_number=45&sort=ASC

                                                 ITU J.120 at 2: Definition of “IP address”: The network layer
                                                 address defined by the Internet Protocol. This address is
                                                 mapped onto the layer one address of the respective system.

                                                 https://www.itu.int/rec/T-REC-J.120-200005-I/en

                                                 RFC 1983 at 31: Definition of “IP address”: The 32-bit address
                                                 defined by the Internet Protocol in RFC 791. It is usually
                                                 represented in dotted decimal notation.

                                                 https://tools.ietf.org/html/rfc1983

                                                 RFC 2460 at 2: IP version 6 (IPv6) is a new version of the
                                                 Internet Protocol, designed as the successor to IP version 4
                                                 (IPv4) [RFC-791]…. IPv6 increases the IP address size from
                                                 32 bits to 128 bits, to support more levels of addressing
                                                 hierarchy, a much greater number of addressable nodes, and
                                                 simpler auto-configuration of addresses.

                                                 https://tools.ietf.org/html/rfc2460

   6    ’319     “determining         Claim 14   Proposed Construction: Definite / plain & ordinary meaning
        Patent   that first content
                 is valid”                       Extrinsic Support:

                                                 Tesonet Claim Construction Order (ECF 121): Construction of
                                                 “content”: Digital data.

                                                 ATIS: Definition of “content”: 1. In Web terminology, the text,
                                                 media, and links or information displayed by a browser at a
                                                 particular Web site. 2. Electronic or mechanical representation,
                                                 in analog or digital form, of audiovisual data consisting of
                                                 individually or in composite form still or moving images,
                                                 audio, text, or graphics to include related data and metadata.

                                                 https://glossary.atis.org/glossary/content/?search=CONTENT&
                                                 page_number=1&sort=ASC

                                                 ITU T.411 at 7: Definition of “content”: The information
                                                 conveyed by the document, other than the structural
                                                 information, and that is intended for human perception.


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                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={0A3C5266-56D4-4ED8-9076-
                                               A4345192D7EB}

                                               LUM-00003485

                                               ITU H.740 at 1: Definition of “content”: Encoded generic
                                               value, media or non-media data.

                                               https://www.itu.int/rec/T-REC-H.740-201003-I/en

                                               ITU-T H.780 (06/2012) at 2: Definition of content: A
                                               combination of audio, still image, graphic, video, or data.
                                               NOTE – A variety of formats is classified as the "data" (e.g.,
                                               text, encoded values, multimedia description language
                                               introduced by ITU-T H.760).

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={46309866-F797-45BC-81E9-
                                               2B6B2DAC1F32}

                                               LUM-00003484

                                               Merriam-Webster: Definition of “content”: the principal
                                               substance (such as written matter, illustrations, or music)
                                               offered by a website … Internet users have evolved an ethos of
                                               free content in the Internet.

                                               https://www.merriam-webster.com/dictionary/content

                                               ATIS: Definition of “validation”: 1. Tests to determine
                                               whether an implemented system fulfills its requirements. 2.
                                               The checking of data for correctness or for compliance with
                                               applicable standards, rules, and conventions. 3. [The] process
                                               of applying specialized security test and evaluation procedures,
                                               tools, and equipment needed to establish acceptance for joint
                                               usage of an information system (IS) by one or more
                                               departments or agencies and their contractors. [INFOSEC-99]
                                               Note: This action will include, as necessary, final development,
                                               evaluation, and testing, preparatory to acceptance by senior
                                               security test and evaluation staff specialists. [NIS] 4. In
                                               universal personal telecommunications, the process of
                                               verifying that a user or terminal is authorized to access UPT
                                               services.5. The checking of a representation of a system
                                               or part of a system for conformance with its requirements
                                               [CESG].6.The process of evaluating a ported application,
                                               software, or system to ensure compliance with requirements
                                               [POSIX.0].

                                               https://glossary.atis.org/glossary/validation/?char=V&page_nu
                                               mber=1&sort=ASC

                                               ITU-R M.1224 at 36: Definition of “Validation (messages)”:
                                               The process of checking the integrity of a message or selected
                                               parts of a message.


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                                               https://www.itu.int/rec/R-REC-M.1224/en

   7    ’319     “based on the     Claim 15    Proposed Construction: Definite / plain & ordinary meaning
        Patent   received HTTP
                 header”                       Extrinsic Support:

                                               ATIS: Definition of “HTTP”: In the World Wide Web, a
                                               protocol that facilitates the transfer of hypertext-based files
                                               between local and remote systems.

                                               https://glossary.atis.org/glossary/hypertext-transfer-protocol-
                                               http/

                                               ATIS: Definition of “header”: The portion of a message that
                                               contains information used to guide the message to the correct
                                               destination. Note: Examples of items that may be in a header
                                               are the addresses of the sender and receiver, precedence level,
                                               routing instructions, and synchronizing bits.

                                               https://glossary.atis.org/glossary/header/?search=HEADER&p
                                               age_number=&sort=ASC

                                               RFC 1983 at 23: Definition of “header”: The portion of a
                                               packet, preceding the actual data, containing source and
                                               destination information. It may also error checking and other
                                               fields. A header is also the part of an electronic mail message
                                               which precedes the body of a message and contains, among
                                               other things, the message originator, date and time. See also:
                                               Electronic Mail, packet, error checking.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 1983 at 26: Definition of “Hypertext Transfer Protocol
                                               (HTTP)”: The protocol used by www to transfer HTML files.

                                               https://tools.ietf.org/html/rfc1983

   8    ’319     “periodically     Claim 17    Proposed Construction: Definite / plain & ordinary meaning
        Patent   communicating”
                                               Extrinsic Support:

                                               Merriam-Webster: Definition of “periodically”: 1. At regular
                                               intervals of time; 2. From time to time: frequently.

                                               https://www.merriam-webster.com/dictionary/periodically

   9    ’510     Preamble          Claim 1     Proposed Construction: Limiting
        Patent
                                               Extrinsic Support:

   10   ’510     “web server”      Claims 1    Proposed Construction: Plain and ordinary meaning
        Patent                     and 16
                                               Intrinsic Evidence: 4:64-5:9

                                               Extrinsic Support:


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                                               ATIS: Definition of “web server”: A software program or
                                               server computer equipped to offer World Wide Web access.
                                               Note: A web server accommodates requests from users,
                                               retrieves requested files or applications, and issues error
                                               messages.

                                               https://glossary.atis.org/glossary/web-
                                               server/?search=WEB%20SERVER&page_number=&sort=AS
                                               C

                                               RFC 1983 at 49: Definition of “server”: A provider or
                                               resources (e.g. file servers and name servers).

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               ot a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”

                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12

                                               LUM-00003576

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or


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                                                   process. A workstation requesting the contents of a file from a
                                                   file server is a client of the file server.

                                                   https://tools.ietf.org/html/rfc1983

                                                   RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                                   requests and uses a service provided by another system entity,
                                                   called a ‘server.’

                                                   https://tools.ietf.org/html/rfc2828

                                                   W3 Glossary of Terms for Device Independence at 2:
                                                   Definition of “Client”: The role adopted by an application
                                                   when it is retrieving and/or rendering resources or resource
                                                   manifestations.

                                                   https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                                   W3 Hypertext Glossary: Definition of “Client”: A program
                                                   which requests services of another program. Normally the
                                                   browser is a client of a data server.

                                                   https://www.w3.org/History/19921103-
                                                   hypertext/hypertext/WWW/Terms.html

   11   ’510     “client device”   Claims 1,       Proposed Construction: “Consumer computer,” or, in the
        Patent                     2, 8, 10, 13,   alternative, “plain and ordinary meaning”
                                   15, 18, and
                                   19              Intrinsic Evidence: 2:47-49

                                                   Extrinsic Support:

                                                   Tesonet Claim Construction Order (ECF 121): Construction of
                                                   “Device”: A physical device.

                                                   Tesonet Claim Construction Order (ECF 121): Construction of
                                                   “Client Device”: A device that is operating in the role of a
                                                   client by requesting services, functionalities, or resources from
                                                   other devices.

                                                   PC Mag Encyclopedia: Definition of “computing device:
                                                   “Any electronic equipment controlled by a CPU, including
                                                   desktop and laptop computers, smartphones and tablets. It
                                                   usually refers to a general-purpose device that can accept
                                                   software for many purposes in contrast with a dedicated unit of
                                                   equipment such as a network switch or router.”

                                                   https://www.pcmag.com/encyclopedia/term/66551/computing-
                                                   device

                                                   LUM-00003575

                                                   RFC 1983 at 11: Definition of “client”: A computer system or
                                                   process that requests a service of another computer system or
                                                   process. A workstation requesting the contents of a file from a
                                                   file server is a client of the file server.

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                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               IEV ref 732-01-12 definition of “client”: “functional unit that
                                               requests and receives services from a server.”

                                               LUM-00003490-3491

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

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                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”

                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12

                                               LUM-00003576

   12   ’510     “second server”   Claims 1,   Proposed Construction: “A server that is not the client device
        Patent                     2, 8, 15,   or web server”
                                   and 18
                                               Extrinsic Support:

                                               RFC 1983 at 49: Definition of “server”: A provider or
                                               resources (e.g. file servers and name servers).

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”

                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12


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                                               LUM-00003576

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html


   13   ’510     “in response to     Claim 1   Proposed Construction: Definite / plain & ordinary meaning
        Patent   the receiving of
                 the first content             Extrinsic Support:
                 identifier”
                                               Tesonet Claim Construction Order (ECF 121): Construction of
                                               “content”: Digital data.

                                               ATIS: Definition of “content”: 1. In Web terminology, the text,
                                               media, and links or information displayed by a browser at a
                                               particular Web site. 2. Electronic or mechanical representation,
                                               in analog or digital form, of audiovisual data consisting of
                                               individually or in composite form still or moving images,
                                               audio, text, or graphics to include related data and metadata.

                                               https://glossary.atis.org/glossary/content/?search=CONTENT&
                                               page_number=1&sort=ASC

                                               ITU T.411 at 7: Definition of “content”: The information
                                               conveyed by the document, other than the structural
                                               information, and that is intended for human perception.

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={0A3C5266-56D4-4ED8-9076-
                                               A4345192D7EB}

                                               LUM-00003485

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                                               ITU H.740 at 1: Definition of “content”: Encoded generic
                                               value, media or non-media data.

                                               https://www.itu.int/rec/T-REC-H.740-201003-I/en

                                               ITU-T H.780 (06/2012) at 2: Definition of content: A
                                               combination of audio, still image, graphic, video, or data.
                                               NOTE – A variety of formats is classified as the "data" (e.g.,
                                               text, encoded values, multimedia description language
                                               introduced by ITU-T H.760).

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={46309866-F797-45BC-81E9-
                                               2B6B2DAC1F32}

                                               LUM-00003484

                                               Merriam-Webster: Definition of “content”: the principal
                                               substance (such as written matter, illustrations, or music)
                                               offered by a website … Internet users have evolved an ethos of
                                               free content in the Internet.

                                               https://www.merriam-webster.com/dictionary/content

                                               ITU X.902 at 11: Definition of “Identifier”: An unambiguous
                                               name, in a given naming context.

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={5C58FBE6-BE32-4E31-81CE-
                                               676FCB191E2B}

                                               LUM-00003486

                                               ITU Q.9 at 62: Definition of “identifier”: A character, or group
                                               of characters, used to identify or name an item of data and
                                               possibly to indicate certain properties of that data.”

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={A842D85F-D255-4218-98D1-
                                               D8AD272C9067}

                                               LUM-00003487

   14   ’510     “the first client   Claim 2   Proposed Construction: Definite / plain & ordinary meaning
        Patent   IP address”
                                               Extrinsic Support:

                                               Tesonet Claim Construction Order (ECF 121): Construction of
                                               “Device”: A physical device.

                                               Tesonet Claim Construction Order (ECF 121): Construction of
                                               “Client Device”: A device that is operating in the role of a
                                               client by requesting services, functionalities, or resources from
                                               other devices.


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                                               PC Mag Encyclopedia: Definition of “computing device:
                                               “Any electronic equipment controlled by a CPU, including
                                               desktop and laptop computers, smartphones and tablets. It
                                               usually refers to a general-purpose device that can accept
                                               software for many purposes in contrast with a dedicated unit of
                                               equipment such as a network switch or router.”

                                               https://www.pcmag.com/encyclopedia/term/66551/computing-
                                               device

                                               LUM-00003575

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               ATIS: Definition of “IP address”: A device’s or resource’s
                                               numerical address as expressed in the format specified in the
                                               Internet Protocol. Note 1: In the current addressing format, IP
                                               version 4 (IPv4), an IP address is a 32-bit sequence divided
                                               into four groups of decimal numbers separated by periods
                                               (“dots”), commonly referred to as “dotted decimals.” The IP
                                               address of a device is made up of two parts: the number of the
                                               network to which it is connected, and a sequence representing
                                               the specific device within that network. An IP address may be
                                               used on private intranets, as well as The Internet. Note 2: Due
                                               to inefficiencies that have arisen in address assignment,
                                               available IPv4 addresses are nearly exhausted. A newer version
                                               of IP addressing (IP version 6, consisting of a 128-bit
                                               numerical sequence) is currently being developed.



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                                                 https://glossary.atis.org/glossary/ip-
                                                 address/?char=I&page_number=45&sort=ASC

                                                 ITU J.120 at 2: Definition of “IP address”: The network layer
                                                 address defined by the Internet Protocol. This address is
                                                 mapped onto the layer one address of the respective system.

                                                 https://www.itu.int/rec/T-REC-J.120-200005-I/en

                                                 RFC 1983: Definition of “IP address” at 31: The 32-bit address
                                                 defined by the Internet Protocol in RFC 791. It is usually
                                                 represented in dotted decimal notation.

                                                 https://tools.ietf.org/html/rfc1983

                                                 RFC 2460 at 2: IP version 6 (IPv6) is a new version of the
                                                 Internet Protocol, designed as the successor to IP version 4
                                                 (IPv4) [RFC-791]…. IPv6 increases the IP address size from
                                                 32 bits to 128 bits, to support more levels of addressing
                                                 hierarchy, a much greater number of addressable nodes, and
                                                 simpler auto-configuration of addresses.

                                                 https://tools.ietf.org/html/rfc2460

   15   ’510     “periodically        Claim 8    Proposed Construction: Definite / plain & ordinary meaning
        Patent   communicating”
                                                 Extrinsic Support:

                                                 Merriam-Webster: Definition of “periodically”: 1. At regular
                                                 intervals of time; 2. From time to time: frequently.

                                                 https://www.merriam-webster.com/dictionary/periodically

   16   ’510     “determining         Claim 10   Proposed Construction: Definite / plain & ordinary meaning
        Patent   that first content
                 is valid”                       Extrinsic Support:

                                                 Tesonet Claim Construction Order (ECF 121): Construction of
                                                 “content”: Digital data.

                                                 ATIS: Definition of “content”: 1. In Web terminology, the text,
                                                 media, and links or information displayed by a browser at a
                                                 particular Web site. 2. Electronic or mechanical representation,
                                                 in analog or digital form, of audiovisual data consisting of
                                                 individually or in composite form still or moving images,
                                                 audio, text, or graphics to include related data and metadata.

                                                 https://glossary.atis.org/glossary/content/?search=CONTENT&
                                                 page_number=1&sort=ASC

                                                 ITU T.411 at 7: Definition of “content”: The information
                                                 conveyed by the document, other than the structural
                                                 information, and that is intended for human perception.




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                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={0A3C5266-56D4-4ED8-9076-
                                               A4345192D7EB}

                                               LUM-00003485

                                               ITU H.740 at 1: Definition of “content”: Encoded generic
                                               value, media or non-media data.

                                               https://www.itu.int/rec/T-REC-H.740-201003-I/en

                                               ITU-T H.780 (06/2012) at 2: Definition of content: A
                                               combination of audio, still image, graphic, video, or data.
                                               NOTE – A variety of formats is classified as the "data" (e.g.,
                                               text, encoded values, multimedia description language
                                               introduced by ITU-T H.760).

                                               https://www.itu.int/net/ITU-R/asp/terminology-
                                               definition.asp?lang=en&rlink={46309866-F797-45BC-81E9-
                                               2B6B2DAC1F32}

                                               LUM-00003484-LUM-00003484

                                               Merriam-Webster: Definition of “content”: the principal
                                               substance (such as written matter, illustrations, or music)
                                               offered by a website … Internet users have evolved an ethos of
                                               free content in the Internet.

                                               https://www.merriam-webster.com/dictionary/content

                                               ATIS: Definition of “validation”: 1. Tests to determine
                                               whether an implemented system fulfills its requirements. 2.
                                               The checking of data for correctness or for compliance with
                                               applicable standards, rules, and conventions. 3. [The] process
                                               of applying specialized security test and evaluation procedures,
                                               tools, and equipment needed to establish acceptance for joint
                                               usage of an information system (IS) by one or more
                                               departments or agencies and their contractors. [INFOSEC-99]
                                               Note: This action will include, as necessary, final development,
                                               evaluation, and testing, preparatory to acceptance by senior
                                               security test and evaluation staff specialists. [NIS] 4. In
                                               universal personal telecommunications, the process of
                                               verifying that a user or terminal is authorized to access UPT
                                               services.5. The checking of a representation of a system
                                               or part of a system for conformance with its requirements
                                               [CESG].6.The process of evaluating a ported application,
                                               software, or system to ensure compliance with requirements
                                               [POSIX.0].

                                               https://glossary.atis.org/glossary/validation/?char=V&page_nu
                                               mber=1&sort=ASC

                                               ITU-R M.1224 at 36: Definition of “Validation (messages)”:
                                               The process of checking the integrity of a message or selected
                                               parts of a message.


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                                               https://www.itu.int/rec/R-REC-M.1224/en

   17   ’510     “based on the     Claim 11    Proposed Construction: Definite / plain & ordinary meaning
        Patent   received HTTP
                 header”                       Extrinsic Support:

                                               ATIS: Definition of “HTTP”: In the World Wide Web, a
                                               protocol that facilitates the transfer of hypertext-based files
                                               between local and remote systems.

                                               https://glossary.atis.org/glossary/hypertext-transfer-protocol-
                                               http/

                                               ATIS: Definition of “header”: The portion of a message that
                                               contains information used to guide the message to the correct
                                               destination. Note: Examples of items that may be in a header
                                               are the addresses of the sender and receiver, precedence level,
                                               routing instructions, and synchronizing bits.

                                               https://glossary.atis.org/glossary/header/?search=HEADER&p
                                               age_number=&sort=ASC

                                               RFC 1983 at 23: Definition of “header”: The portion of a
                                               packet, preceding the actual data, containing source and
                                               destination information. It may also error checking and other
                                               fields. A header is also the part of an electronic mail message
                                               which precedes the body of a message and contains, among
                                               other things, the message originator, date and time. See also:
                                               Electronic Mail, packet, error checking.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 1983 at 26: Definition of “Hypertext Transfer Protocol
                                               (HTTP)”: The protocol used by www to transfer HTML files.

                                               https://tools.ietf.org/html/rfc1983

   18   ’510     “the sending of   Claim 13    Proposed Construction: Definite / plain & ordinary meaning
        Patent   the Hypertext
                 Transfer                      Extrinsic Support:
                 Protocol (HTTP)
                 request”                      ATIS: Definition of “HTTP”: In the World Wide Web, a
                                               protocol that facilitates the transfer of hypertext-based files
                                               between local and remote systems.

                                               https://glossary.atis.org/glossary/hypertext-transfer-protocol-
                                               http/

                                               RFC 1983 at 26: Definition of “Hypertext Transfer Protocol
                                               (HTTP)”: The protocol used by www to transfer HTML files.

                                               https://tools.ietf.org/html/rfc1983

   19   ’510     “receiving and    Claim 13    Proposed Construction: Definite / plain & ordinary meaning
        Patent   storing of the
                 first content”                Extrinsic Support:

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                                                  Tesonet Claim Construction Order (ECF 121): Construction of
                                                  “content”: Digital data.

                                                  ATIS: Definition of “content”: 1. In Web terminology, the text,
                                                  media, and links or information displayed by a browser at a
                                                  particular Web site. 2. Electronic or mechanical representation,
                                                  in analog or digital form, of audiovisual data consisting of
                                                  individually or in composite form still or moving images,
                                                  audio, text, or graphics to include related data and metadata.

                                                  https://glossary.atis.org/glossary/content/?search=CONTENT&
                                                  page_number=1&sort=ASC

                                                  ITU T.411 at 7: Definition of “content”: The information
                                                  conveyed by the document, other than the structural
                                                  information, and that is intended for human perception.

                                                  https://www.itu.int/net/ITU-R/asp/terminology-
                                                  definition.asp?lang=en&rlink={0A3C5266-56D4-4ED8-9076-
                                                  A4345192D7EB}

                                                  LUM-00003485

                                                  ITU H.740 at 1: Definition of “content”: Encoded generic
                                                  value, media or non-media data.

                                                  https://www.itu.int/rec/T-REC-H.740-201003-I/en

                                                  ITU-T H.780 (06/2012) at 2: Definition of content: A
                                                  combination of audio, still image, graphic, video, or data.
                                                  NOTE – A variety of formats is classified as the "data" (e.g.,
                                                  text, encoded values, multimedia description language
                                                  introduced by ITU-T H.760).

                                                  https://www.itu.int/net/ITU-R/asp/terminology-
                                                  definition.asp?lang=en&rlink={46309866-F797-45BC-81E9-
                                                  2B6B2DAC1F32}

                                                  LUM-00003484-LUM-00003484

                                                  Merriam-Webster: Definition of “content”: the principal
                                                  substance (such as written matter, illustrations, or music)
                                                  offered by a website … Internet users have evolved an ethos of
                                                  free content in the Internet.

                                                  https://www.merriam-webster.com/dictionary/content

   20   ’510     “the sending of       Claim 13   Proposed Construction: Definite / plain & ordinary meaning
        Patent   the part of, or the
                 whole of, the                    Extrinsic Support:
                 stored first
                 content”                         Tesonet Claim Construction Order (ECF 121): Construction of
                                                  “content”: Digital data.



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                                                    ATIS: Definition of “content”: 1. In Web terminology, the text,
                                                    media, and links or information displayed by a browser at a
                                                    particular Web site. 2. Electronic or mechanical representation,
                                                    in analog or digital form, of audiovisual data consisting of
                                                    individually or in composite form still or moving images,
                                                    audio, text, or graphics to include related data and metadata.

                                                    https://glossary.atis.org/glossary/content/?search=CONTENT&
                                                    page_number=1&sort=ASC

                                                    ITU T.411 at 7: Definition of “content”: The information
                                                    conveyed by the document, other than the structural
                                                    information, and that is intended for human perception.

                                                    https://www.itu.int/net/ITU-R/asp/terminology-
                                                    definition.asp?lang=en&rlink={0A3C5266-56D4-4ED8-9076-
                                                    A4345192D7EB}

                                                    LUM-00003485

                                                    ITU H.740 at 1: Definition of “content”: Encoded generic
                                                    value, media or non-media data.

                                                    https://www.itu.int/rec/T-REC-H.740-201003-I/en

                                                    ITU-T H.780 (06/2012) at 2: Definition of content: A
                                                    combination of audio, still image, graphic, video, or data.
                                                    NOTE – A variety of formats is classified as the "data" (e.g.,
                                                    text, encoded values, multimedia description language
                                                    introduced by ITU-T H.760).

                                                    https://www.itu.int/net/ITU-R/asp/terminology-
                                                    definition.asp?lang=en&rlink={46309866-F797-45BC-81E9-
                                                    2B6B2DAC1F32}

                                                    LUM-00003484-LUM-00003484

                                                    Merriam-Webster: Definition of “content”: the principal
                                                    substance (such as written matter, illustrations, or music)
                                                    offered by a website … Internet users have evolved an ethos of
                                                    free content in the Internet.

                                                    https://www.merriam-webster.com/dictionary/content

   21   ’614     Preamble          Claim 1          Proposed Construction: Limiting
        Patent
                                                    Extrinsic Support:


   22   ’614     “client device”   Claims 1,        Proposed Construction: “A device using a client dedicated
        Patent                     2, 4, 5, 6, 9,   operating system and operating in the role of a client by
                                   15, 18, 19,      requesting services, functionalities, or resources from servers”
                                   25, and 28
                                                    Intrinsic Evidence: Abstract; 4:40-8:59; 7:6-26; 52:48-51;
                                                    62:33-40; 75:35-59;83:4-15; 95:4-61


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                                               Extrinsic Support:

                                               Tesonet Claim Construction Order (ECF 121): Construction of
                                               “Device”: A physical device.

                                               Tesonet Claim Construction Order (ECF 121): Construction of
                                               “Client Device”: A device that is operating in the role of a
                                               client by requesting services, functionalities, or resources from
                                               other devices.

                                               U.S. Patent No. 10,257,319 at 2:44-46: “In the network 50,
                                               files are stored on computers of consumers, referred to herein
                                               as client devices 60.”

                                               PC Mag Encyclopedia: Definition of “computing device:
                                               “Any electronic equipment controlled by a CPU, including
                                               desktop and laptop computers, smartphones and tablets. It
                                               usually refers to a general-purpose device that can accept
                                               software for many purposes in contrast with a dedicated unit of
                                               equipment such as a network switch or router.”

                                               https://www.pcmag.com/encyclopedia/term/66551/computing-
                                               device

                                               LUM-00003575

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               IEV ref 732-01-12 definition of “client”: “functional unit that
                                               requests and receives services from a server.”


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                                                 LUM-00003490-3491

                                                 RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                                 that provides a service in response to requests from other
                                                 system entities called client.

                                                 https://tools.ietf.org/html/rfc2828

                                                 W3 Glossary of Terms for Device Independence at 4:
                                                 Definition of “Server”: The role adopted by an application
                                                 when it is supplying resources or resource manifestations.

                                                 https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                                 W3 Hypertext Terms: Definition of “Server”: A program
                                                 which provides a service to another, known as the client. In a
                                                 hypertext system, a server will provide hypertext information
                                                 to a browser.”

                                                 https://www.w3.org/History/19921103-
                                                 hypertext/hypertext/WWW/Terms.html

                                                 Merriam Webster: Definition of “server”: A computer in a
                                                 network that is used to provide services (such as access to files
                                                 or shared peripherals or the routing of e-mail) to other
                                                 computers in the network.

                                                 https://www.merriam-webster.com/dictionary/server

                                                 LUM-00003579

                                                 IEV ref 732-01-12 definition of server: “functional unit that
                                                 provides services to workstations, to personal computers or to
                                                 other functional units in a computer network”

                                                 http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                                 ref=732-01-12

                                                 LUM-00003576

   23   ’614     “first server”    Claims 1,     Proposed Construction: “A server that is not the client device
        Patent                     2, 4, 5, 6,   or web server”
                                   26, and 28
                                                 Extrinsic Support:

                                                 RFC 1983 at 49: Definition of “server”: A provider or
                                                 resources (e.g. file servers and name servers).

                                                 https://tools.ietf.org/html/rfc1983

                                                 RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                                 that provides a service in response to requests from other
                                                 system entities called client.

                                                 https://tools.ietf.org/html/rfc2828


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                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”

                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12

                                               LUM-00003576

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.


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                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

   24   ’614     “web server”      Claims 1,   Proposed Construction: Plain and ordinary meaning
        Patent                     and 29
                                               Extrinsic Support:

                                               ATIS: Definition of “web server”: A software program or
                                               server computer equipped to offer World Wide Web access.
                                               Note: A web server accommodates requests from users,
                                               retrieves requested files or applications, and issues error
                                               messages.

                                               https://glossary.atis.org/glossary/web-
                                               server/?search=WEB%20SERVER&page_number=&sort=AS
                                               C

                                               RFC 1983 at 49: Definition of “server”: A provider or
                                               resources (e.g. file servers and name servers).

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 157: Definition of “Server”: (I) A system entity
                                               that provides a service in response to requests from other
                                               system entities called client.

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 4:
                                               Definition of “Server”: The role adopted by an application
                                               when it is supplying resources or resource manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Terms: Definition of “Server”: A program
                                               which provides a service to another, known as the client. In a
                                               hypertext system, a server will provide hypertext information
                                               to a browser.”

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

                                               Merriam Webster: Definition of “server”: A computer in a
                                               network that is used to provide services (such as access to files
                                               or shared peripherals or the routing of e-mail) to other
                                               computers in the network.

                                               https://www.merriam-webster.com/dictionary/server

                                               LUM-00003579

                                               IEV ref 732-01-12 definition of server: “functional unit that
                                               provides services to workstations, to personal computers or to
                                               other functional units in a computer network”



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                                               http://www.electropedia.org/iev/iev.nsf/display?openform&iev
                                               ref=732-01-12

                                               LUM-00003576

                                               RFC 1983 at 11: Definition of “client”: A computer system or
                                               process that requests a service of another computer system or
                                               process. A workstation requesting the contents of a file from a
                                               file server is a client of the file server.

                                               https://tools.ietf.org/html/rfc1983

                                               RFC 2828 at 39: Definition of “Client”: (I) A system entity that
                                               requests and uses a service provided by another system entity,
                                               called a ‘server.’

                                               https://tools.ietf.org/html/rfc2828

                                               W3 Glossary of Terms for Device Independence at 2:
                                               Definition of “Client”: The role adopted by an application
                                               when it is retrieving and/or rendering resources or resource
                                               manifestations.

                                               https://www.w3.org/TR/di-gloss/#ref-wca-terms

                                               W3 Hypertext Glossary: Definition of “Client”: A program
                                               which requests services of another program. Normally the
                                               browser is a client of a data server.

                                               https://www.w3.org/History/19921103-
                                               hypertext/hypertext/WWW/Terms.html

   25   ’614     “the steps are    Claim 7     Proposed Construction: Definite / plain & ordinary meaning
        Patent   sequentially
                 executed”                     Extrinsic Support:

                                               Merriam-Webster: Definition of “sequential”: 1: of, relating to,
                                               or arranged in a sequence: serial sequential file systems; 2:
                                               following in sequence.

                                               https://www.merriam-
                                               webster.com/dictionary/SEQUENTIALLY?utm_campaign=sd
                                               &utm_medium=serp&utm_source=jsonld




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